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The Honorable Claudia Wilken
United States District Court


                                                                         filed;
Northern District of California
1301 Clay Street
Oakland, CA 94612
                                                                        JAN 16 ?025
Re: House v. NCAA, Case No. 4:20-cv-03919-CW
                                                                   CLERK,   S DISTRICT «OURT
January 1, 2025                                                  north OD.tTR,OT OF CALIFoSIlA
                                                                          akland office

Dear Judge Wilken,

My name is Camden Dempsey, and I am a walk-on football player at the University of Colorado.
I have been notified that I am considered part of the “Class” for the College Athlete NIL
Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.) settlement. The Claim ID assigned to me is
10295436701.1 write to you not only as an individual deeply affected by the outcome of this
case but also as a representative of my fellow walk-ons across the Big-12 who have signed onto
this letter in support.

As walk-ons, we embrace every aspect of being student-athletes. We dedicate ourselves to the
team and the sport we love, often without scholarships or promises of playing time. We work
tirelessly, knowing our value to the program goes beyond statistics or accolades. However, the
proposed settlement in the House v. NCAA case presents an unintended consequence that
threatens our ability to remain on the teams we’ve worked so hard to join.

The roster limits outlined in the settlement will force teams to cut players—disproportionately
affecting walk-ons. Football teams like mine, which often cany more than 105 players, will have
no choice but to ask dozens of student-athletes to leave. At Colorado, this will mean cutting
players who have, for years, shown up for early morning workouts, endured the grind of practice,
and given ever5^ing to the team. This issue extends across all sports and institutions, putting
thousands of student-athletes in jeopardy.

This concern is not limited to Colorado. Walk-ons and non-scholarship athletes across the Big 12
Conference share these same fears and frustrations. Athletes from programs like Texas Tech,
Kansas State, Utah, Cincinnati, and others have expressed their unwavering support for this
effort. These programs, like Colorado, often carry larger rosters to ensure competitive depth and
provide opportunities for walk-ons to contribute to their teams. These players are “foundational
players” and not only provide roster depth, but also provide the basis for the spirit and tradition
that makes college athletics so special. Walk-Ons who are cut also will face real, concrete,
and immediate, financial damages as many walk-ons have worked to arrange NIL deals
and create businesses. As of this moment, walk-ons are not represented by counsel in this
proceeding, despite being directly affected by the proposed settlement.

Together, as representatives of the Big 12, we implore the Court to recognize the vital role walk-
ons play not only on the field but also in preserving the integrity and camaraderie of college
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athletics. We stand united in requesting a grandfathering provision to allow current walk-
ons and non-scholarship athletes to complete their athletic careers without counting against
the proposed roster limits (and current and future NIL arrangements and opportunities).

This provision would protect the 46%^ of all division one athletes who are Walk-Ons and have
already committed to their teams and would ensure the settlement achieves its broader goals
without unfairly displacing thousands of dedicated student-athletes.

I would like to formally request to testify at the final approval hearing, either in person or
remotely, to speak for myself and the countless walk-ons whose athletic careers, Hnancial
interests, and due process rights are not being fully considered.

Thank you for your time and consideration. We are grateful for your efforts to create a fair and
equitable outcome, and we trust that you will take action to protect the student-athletes who
embody the spirit of college athletics.

Respectfully,

Camden Dempsey - Football
University of Colorado
Class of 2024

camden.dempsey@colorado.edu




*Note: Below are the signatures of 43 Walk-On and 49 Scholarship Athletes, from 7 Separate
Big-12 Institutions, representing 12 different sports. These signatures were collected over a
period of one week, and a separate form representing all NCAA D1 Walk-On athletes is being
circulated to collect signatures from across the nation.

Walk-Ons:


Tagert Bardin
University Of Colorado Boulder, Football, Class of 2027

Christian Sarem
University of Colorado Boulder, Football, Class of2026

Ben Reznik

University of Colorado Boulder, Football, Class of2025




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 https;//www.usatodayhss.com/story/sports^igh-school/2017/04/13/t he-5-most-common!y-
asked-questions-about-being-a-college-walk-on/76917039007/
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Carson Westbrook
University of Colorado Boulder, Football, Class of2028

Cash Cleveland
Colorado Buffs, Football, Class of 2028

Brady Kopetz
CU Boulder, Football, Class of 2026

Nathanial Watson
CU, Football, Class of 2028

Charlie Williams
Colorado Boulder, Football, Class of 2027

Aiden DeCorte

University of Colorado, Football, Class of 2027

Gabriel Landers
Colorado, Football, Class of 2025

Lexi Guerin

Arizona State University, Lacrosse, Class of 2025

Sarah Zdansky
Texas Tech University, Track/Cross Country, Class of2025

Shannon Quinn
Texas Tech University, Cross Country, Class of 2027

Riley Ries
Texas Tech, Cross Country / Track, Class of 2026

Lila Crowley
Texas Tech, Cross Countiy/Track and Field, Class of 2027

Jenna Carter

Texas Tech, Track and Cross country. Class of2027

Edna Rotich
Texas Tech University, Cross Country/Track & Field, Class of 2025

Lee Taylor
Texas Tech, Cross Country, Class of2027
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Libby Shields
Texas Tech University, Track and Cross Country, Class of 2026

Valeria Banuelos
Texas Tech, Cross country/Track and field, Class of 2027

Andrew Sonner
Kansas State, Football, Class of2024

Taylor Limbaugh
Texas Tech University, Women’s Cross Country & Traek, Class of 2024

Oliver Mayer
University of Cincinnati, Track, Class of 2027

Jordan Forbes
University of Arizona, Football, Class of2025

Cristiano Palazzo
University of Colorado, Football, Class of 2025

Kameron Hawkins
University of Colorado, Football, Class of 2025

Davis Stachelek

University of Utah, Swimming and diving, Class of 2026
Will Woodall
University of Utah, Swimming, Class of 2027

Anya Clark
University of Utah, Swimming, Class of 2028

Pierce Nowell
Texas Tech, Cross Countiy and Track, Class of 2028

Lauren Greenwell
University of Utah, Swim, Class of 2028

Chance Ricca
University of Utah, Men’s Swim and Dive, Class of 2026

Krystal Lieu
University of Utah, Women’s Swimming, Class of 2025
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Owen Carlsen
University of Utah, Swim and Dive, Class of 2028

Caleb Gallagher
University of Utah, Swimming, Class of 2027

Jake Baker

University of Utah, Swim, Class of 2028

Marco Martinez
University of Colorado Boulder, Track and Field, Class of 2028

Troy Colleran
University of Colorado, Track and Field, Class of 2026

Luke Dry
University Of Colorado, Track and Field, Class of 2026

Johnny Homsy
CU Boulder, Track & Field, Class of 2027

Jameson Leigh
University of Colorado - Boulder, Track and Field, Class of 2028

Sam Beckham
University of Colorado Boulder, Track and Field, Class of 2026

Jackson Meyer
University of Colorado Boulder, Track & Field, Class of 2025


Non-Walk-Ons:


Taje McCoy
University of Colorado, Football, Class of2027

Byron “BT’ Green 11
University of Colorado Boulder, Football, Class of 2025

Malakai Murphy
University of Colorado Boulder, Football, Class of 2028

Zack Owens
Colorado, Football, Class of 2027
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Ryan Staub
Colorado, Football, Class of2027

Herman Smith
University of Colorado, Football, Class of 2025

Taurean Carter II
Colorado, Football, Class of 2023

Kam Mikell
University of Colorado-Boulder, Football, Class of 2028

Sam Hart
Colorado, Football, Class of 2025

Kahlil Benson
University of Colorado Boulder, Football, Class of 2025

Charlie Offerdahl
University of Colorado, Football, Class of 2025

Nikhil Webb Walker
Colorado, Football, Class of 2026

Kyeran Garcia
University of Colorado Boulder, Football, Class of 2028

Sierra Ryan
Arizona State University, Lacrosse, Class of 2028

Isabella Ingrao
Arizona State University, Women’s Lacrosse, Class of 2025

Lily Mather
Texas Tech University, Track and Field, Class of 2026

Markus Brodin

Texas Tech University, Track & Field, Class of 2027

Hannah Spears
Texas Tech University, Cross Country, Class of 2026

Libby Fleming
Texas Tech University, Women’s Golf, Class of2025
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Gabriellc Guenther
University of Cincinnati, Tennis, Class of 2027

Payton Hasse
University of Cincinnati, Women’s Soccer, Class of 2025

Paige Miller
University of Cincinnati, Soccer, Class of2025

Cole Imig
University of Cincinnati, Men’s Golf, Class of 2025

Macaylee Nelson
University of Cincinnati, Cheerleading, Class of 2027

Mark Vassett
University of Colorado, Football, Class of 2025

Shane Cokes
University of Colorado, Football, Class of2024

Sophie Schuetze
University of Cincinnati, Women’s Swimming, Class of 2027
Emma Lemler

University of Utah, Swim and Dive, Class of 2027

Megan Legarth
University of Utah, Swimming and Diving, Class of 2026
Winston Sundeen
University of Utah, Swimming and Diving, Class of 2028

Chloe Thompson
University of Utah, Swim, Class of 2026

Kcllen Cameron
University of Utah, Swim and Dive, Class of 2027

Ella Derby
University of Utah, Women’s Swim, Class of 2027

Parker MeOmber
University of Utah, Swimming, Class of 2025
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Brandon Miller

University of Utah, Swim and Dive, Class of 2026

Emilia Nilsson Garip
University of Utah, Swim and Dive, Class of 2027

Rylee McColley
University of Utah, Swim and Dive, Class of 2024

Colton Hood
Colorado Boulder, Football, Class of 2027

Anelise Hedges
University of Utah, Swim and Dive, Class of 2025

Sydney Even
University of Utah, Swim and Dive, Class of 2026

late Stokesberry
Arizona State University, Women’s Lacrosse, Class of 2025

Dalian Hayden
Colorado, Football, Class of 2026

Ece Yildirim

University of Utah, Swimming, Class of2027

Gannon Flynn
University of Utah, Swimming and Diving, Class of 2028

John Bass
University of Colorado Boulder, Track and Field, Class of 2028

Joshua Johnson
Colorado, Track & Field, Class of 2025

Layton Sealman
Utah University, Swim, Class of 2028

Andra Mohler
Kansas State, Women’s Soccer, Class of2026

Lauren Bastian

University of Cincinnati, Soccer, Class of2025
